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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

IGT GLOBAL SOLUTIONS                                 )
CORPORATION, a Delaware corporation;                 )
                                                     )   Case No.
                Plaintiff,                           )
                                                     )
        v.                                           )
                                                     )   JURY DEMAND
COLIN HADDEN, an individual; CAMELOT                 )
ILLINOIS, LLC, an Illinois limited liability         )
corporation; and CAMELOT GLOBAL                      )
SERVICES (NORTH AMERICA), INC., a                    )
Delaware corporation,                                )
                                                     )
                Defendants.

                  COMPLAINT FOR INJUNCTIVE AND OTHER RELIEF

        Plaintiff IGT GLOBAL SOLUTIONS CORPORATION, formerly GTECH Corporation

(hereinafter and collectively, “IGT”), for their Complaint for Injunctive and Other Relief against

Defendants COLIN HADDEN (“Hadden”), CAMELOT ILLINOIS, LLC (“Camelot Illinois”)

and CAMELOT GLOBAL SERVICES (NORTH AMERICA), INC. (“Camelot”) (collectively

with Hadden and Camelot Illinois, “Defendants”), states as follows:

                               BRIEF NATURE OF THE ACTION

        1.      This is an action for breach of contract, actual and/or threatened misappropriation

of trade secrets under the Illinois Trade Secrets Act and the Defend Trade Secrets Act, unfair

competition, and tortious interference with contract. IGT seeks preliminary and permanent

injunctive relief in addition to other relief.

        2.      IGT is one of the leaders in the private and public management of state-run

lotteries across the United States. In addition, IGT is a leader in the design and manufacture of

lottery games, including paper, electronic, and video terminal gambling games. Until recently,
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IGT, along with its joint venture partner, was the only company in the United States with any

experience in operating lottery management agreements (“LMAs”).

         3.    Until November 2, 2017, Hadden served as a high-level executive for GTECH

Indiana, LLC (later rebranded as IGT Indiana). In his position, Hadden served not only as the

senior most individual in IGT Indiana, but also served on significant and numerous internal

teams for IGT. In this position, Hadden had access to and helped devise the corporate sales and

marketing strategies for IGT Indiana and IGT and Hadden is intimately aware of and uniquely

positioned to unfairly compete against IGT.

         4.    Indeed, until recently, Defendant Hadden was one of only a small handful of

individuals with experience running an LMA.

         5.    Beyond this role, however, Hadden was also tasked by IGT with helping IGT

design its nationwide strategy, including identifying states in which to pursue LMAs, helping

design new and innovative games and places in which to target the dissemination and sale of

such games, and being involved in IGT’s strategies relating to placing lottery games in various

private businesses. All of these initiatives are highly confidential within IGT and are not publicly

known.

         6.    In this role and because of his duties and responsibilities, IGT provided Hadden

with access to its most secret information, including: (a) intimate knowledge of IGT’s annual

business planning process for the LMA organizations, as well as existing IGT FM customers; (b)

detailed plans for retailer incentive programs; (c) retail expansion opportunities; (d) IGT lead

industry initiatives (i.e. e-commerce, cashless and other initiatives) for channel expansion; and

(e) targeted growth retailer SWOT analysis and planning for key retail chains. IGT provided

Hadden with access to strategic and tactical plans for all of the key retail chain target accounts,


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as well as the business cases used to support selling in lottery programs to these major retail

players. Since Indiana and Illinois share a significant number of the top retail chain accounts in

the Midwest, the information Hadden gleaned to support retail chain strategic initiatives could be

used for the benefit of Camelot in Illinois and to the disadvantage of IGT in Indiana.

       7.      Put simply, Hadden was an extremely high-level employee within IGT, who,

based on his position, was exposed to IGT’s most sensitive trade secrets and confidential

information, including its strategic and tactical operation information pertaining to LMAs.

Because of this access, Hadden executed an 18-month non-compete agreement with IGT upon

the start of his role with IGT Indiana in March 2014.

       8.      In November 2017, Hadden announced, abruptly, that he was leaving IGT to take

a position with Camelot Illinois, and would be running Camelot Illinois’s management of the

Illinois lottery through an LMA. Camelot Illinois began operating the Illinois Lottery on January

1, 2018. Prior to January 1, 2018, Northstar Lottery Group, LLC, a joint venture in which IGT is

the controlling member, ran this lottery.

       9.      While Hadden is barred from taking this employment based on his IGT non-

compete agreement, IGT is particularly concerned with Hadden’s employment because it

recently learned that Hadden misappropriated its trade secrets.

       10.     Indeed, in performing a forensic review of Hadden’s IGT computer following his

departure, IGT learned that Hadden inserted six different external media devices into his IGT

computer in the months before his resignation. Even more concerning, however, two days after

he resigned and after he purportedly “forgot” to return his IGT computer, Hadden inserted and

downloaded additional materials onto an external media device.

       11.     Moreover, when confronted about having IGT’s information, Hadden denied it


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and provided an affidavit saying as much.

          12.   Given his competitive employment and the inaccurate statements he made, IGT is

particularly concerned that Hadden intends to utilize IGT’s trade secret and confidential

information to better position Camelot not only in Illinois, but also around the rest of the United

States.

          13.   Camelot and Camelot Illinois now seek to utilize IGT’s head start in this area and

seek to erode IGT’s standing in the market by hiring one of its business leaders. Indeed, the

knowledge and information that Hadden possesses would enable Defendants to save millions of

dollars in start-up costs and erode IGT’s trade secrets, confidential and proprietary business

information, customer relationships, and goodwill. Most troubling, Camelot and Camelot Illinois

are keenly aware that Hadden is bound by various restrictive covenants contained in his IGT

employment agreement and, despite this, seek to place him in a role in the LMA space that

directly violates the restrictive covenants contained within his Restrictive Agreement (the

“Agreement”).

          14.   In his position with Camelot Illinois, Hadden has disclosed or will disclose IGT’s

trade secrets and confidential and proprietary information to Camelot Illinois and Camelot for

Defendants to improperly compete in the lottery space and to expand into markets in which

Hadden accessed and possesses IGT’s trade secrets about IGT’s strengths and weaknesses,

competitive plans, and strategies. This information was specifically disclosed to Hadden and

Defendants have used or will use these trade secrets and confidential information to unfairly

compete against IGT.

          15.   Accordingly, IGT seeks to preliminarily and permanently enjoin Hadden from

using and continuing to use IGT’s trade secret information and from interfering with IGT’s


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customer and employee relationships through his further use and disclosure of IGT’s trade secret

and confidential information. In addition, IGT seeks to preliminarily and permanently enjoin

Hadden from his ongoing breach of certain reasonable post-employment contractual obligations

owing to IGT.

       16.      Absent such injunctive relief, IGT faces irreparable injury, including the loss of

customers and referral sources, its competitive advantage, its trade secrets, and its goodwill in

amounts which may be impossible to determine unless Hadden is enjoined and restrained by

order of this Court.

       17.      IGT also seeks monetary damages for the amount of its lost business and for the

value of its misappropriated trade secrets, to the extent such damage is identifiable.

                                             PARTIES

       18.      IGT Global Solutions Corporation is a corporation organized and existing under

the laws of the State of Delaware, with its principal place of business in Providence, Rhode

Island. IGT was formerly known as GTECH Corporation, with the change in name the result of a

merger transaction, which closed on April 7, 2015.

       19.      Camelot Global Services (North America), Inc. is a corporation organized and

existing under the laws of the State of Delaware, with its principal place of business in Chicago,

Illinois. Camelot is the managing member of Camelot Illinois and, on information and belief, is

the sole member of Camelot Illinois.

       20.      Camelot Illinois, LLC is a limited liability corporation organized and existing

under the laws of the State of Illinois, with its principal place of business in Chicago, Illinois.

       21.      Colin Hadden was employed by IGT Indiana, starting in March 2014 until

November 2, 2017. Hadden is bound by a non-compete agreement with IGT. He is domiciled in

and, on information and belief, a resident of Chicago, Illinois.
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                                 JURISDICTION AND VENUE

       22.     This Court has original jurisdiction over this action pursuant to 28 U.S.C. §1331,

because IGT’s DTSA claim against Hadden, under 18 U.S.C. §1836, et seq., raises a federal

question. This Court also has supplemental jurisdiction over IGT’s state law claims under 28

U.S.C. §1367(a), in that those claims are so related to IGT’s federal claim that they form part of

the same case or controversy.

       23.     This Court has personal jurisdiction over Defendants, and venue is proper in this

District under 28 U.S.S. §1391(a), because Defendants have committed and continue to commit

tortious acts in this State. Additionally, IGT regularly conducts business in Illinois.

                         EVENTS GIVING RISE TO THIS ACTION

IGT’S LOTTERY BUSINESS

       24.     IGT and its affiliated entities collectively form the world’s largest end-to-end

gaming company, with leading market positions in North America, and the most extensive

gaming content library in the world. IGT operates and provides an integrated portfolio of

innovative technology products and services across all gaming markets, including: lottery

management services, online and instant lotteries, instant ticket printing, electronic gaming

machines, sports betting, and interactive gaming.

       25.     Leveraging a wealth of premium content, substantial investment in technology,

in-depth customer intelligence, and operational expertise, IGT’s solutions anticipate the demands

of consumers wherever they decide to play, providing its customers with leading edge solutions.

       26.     IGT and its affiliated entities supply a unique set of lottery solutions to more than

100 customers worldwide. As a result of the various revenue streams that government-sponsored

lotteries provide, many governments have become increasingly dependent on their lotteries from

lottery ticket sales, which often serve a significant source of funding for these programs.
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       27.     IGT provides lottery goods and services in a variety of contractual arrangements,

such as facilities management contracts, concession or operator contracts, and product sales

contracts.

       28.     In the majority of jurisdictions, lottery authorities award contracts through a

competitive bidding process. Typical service contracts are five to 10 years, with multi-year

extension options. After the expiration of the initial or extended contract term, a lottery authority

generally may either seek to negotiate further extensions or commence a new competitive

bidding process.

       29.     IGT also designs, sells, and operates a complete suite of point-of-sale terminals

that are electronically linked with a centralized transaction processing system that reconciles

lottery funds between the retailer—where a transaction occurs—and the lottery authority—where

the wager is captured.

       30.     Additionally, IGT also specializes in producing high-quality instant ticket games

and provides printing services, such as instant ticket marketing plans and design, programming,

warehousing, packaging, shipping, and delivery services. IGT’s products and services are used

in interstate commerce throughout the United States and elsewhere.

       31.     IGT further has developed and continues to develop new lottery games, licenses

new game brands from third parties, and installs a range of new lottery distribution devices, all of

which are designed to drive responsible same-store sales growth for its customers.

       32.     To best drive sales, IGT works closely with its lottery customers and retailers to

help retailers sell lottery games more effectively. These programs include product

merchandising, display recommendations, selection of appropriate lottery product mix for each

location, and account reviews to plan lottery sales growth strategies.


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       33.     The lottery business is highly competitive and typically subject to strong price-

based competition. While Camelot is an international player in the lottery management industry,

until winning the Illinois Lottery contract earlier in 2017, it had no presence in the United States.

       34.     In the United States, lottery agreements typically come in one of two forms: (1)

facilities management contracts (“FMCs”) and (2) lottery management agreements (“LMAs”).

       35.     An FMC typically requires IGT to construct, install, and operate the lottery

system for an initial term, which is typically five to 10 years. Under a typical FMC, IGT

maintains ownership of the technology and facilities, and is responsible for the capital

investments throughout the duration of the contract. FMC revenues are generally service fees

paid to IGT directly from the lottery authority based on a percentage of such lottery’s ticket

sales. Under a number of IGT’s FMCs, IGT provides an additional wide range of support

services and equipment for the lottery’s instant ticket games, such as marketing, distribution, and

automation of various systems. IGT provides FMC services in 21 different states, currently.

       36.     For LMAs, typically, IGT manages the core lottery functions, including the

lottery systems and the majority of the day-to-day activities along the lottery value chain that in

the FMC paradigm are the responsibility of the lottery authority. This includes managing

accounting and other back-office functions, running advertising and promotions, employing sales

personnel to grow the lottery retailer base, and designing strategic annual business plans to

responsibly and effectively grow sales, all under the supervision and control of the lottery

authority. Most LMAs also include a separate supply agreement, through which IGT provides

certain hardware, equipment, software, and support services, similar to those provided under

FMCs. Under these types of agreements, IGT earns service revenues that are generally fixed

based on the percentage of wagers.


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       37.     In Illinois (until January 1, 2018) and New Jersey (currently), IGT provides

lottery management services as part of a joint venture, and in Indiana through IGT Indiana, a

wholly-owned subsidiary of IGT. Illinois, Indiana, and New Jersey are currently the only states

in the United States that operate under an LMA.

       38.     In addition to earning revenue through FMCs and LMAs, IGT also enters into

instant ticket printing contracts, product sales contracts, and the design and manufacture of

gaming machines, video lottery terminals, and designing game content.

       39.     IGT also offers a wide array of gaming systems, sports betting, interactive and

social betting, and various additional gaming products.

       40.     Through these various products and offerings, IGT has emerged as the preeminent

North American and global leaders in lottery management, product and machine design, and

game offerings.

HADDEN’S EMPLOYMENT WITH IGT INDIANA

       41.     Hadden was employed by GTECH Indiana starting in March 2014 until

November 2, 2017.

       42.     On or around April 7, 2015, while Hadden was employed by GTECH Indiana and

bound to an agreement with GTECH, GTECH acquired through merger International Game

Technology, the world’s largest slot machine manufacturer. Following the acquisition, GTECH

changed its corporate name to IGT. As a result of that merger, Hadden’s employment was

transferred from GTECH Indiana to IGT Indiana, and his Agreement was transferred from

GTECH to IGT.

       43.     Hadden was hired to serve as the Chief Operating Officer for GTECH Indiana,

and continued to serve in that role after GTECH’s acquisition of IGT and subsequent name

change.
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       44.     As the COO of IGT Indiana, Hadden served as the highest ranking operations

member in that organization.

       45.     In Indiana, based on the structure of the LMA, Indiana-state lottery officials serve

as the final decision maker, but IGT Indiana is responsible for handling all of the day-to-day

sales, marketing, and strategy for the state. In that role, IGT Indiana essentially serves as the

agent in an agent-principal relationship with the Indiana lottery retaining the authority to direct

or countermand IGT Indiana’s decisions.

       46.     Based on this relationship, Hadden was essentially responsible for, and provided

strategic and tactical direction to a $1B business.

       47.     In this position, Hadden reported directly to senior management at IGT.

       48.     Because of this, Hadden participated in IGT’s Annual Executive Leadership

Meetings, where strategies and tactics from around all of IGT’s businesses are shared with the

Executive Management team. In addition, because of his position, Hadden had access to

technology white papers, from IGT’s Chief Technology Officer, providing insights and potential

uses of upcoming IGT advancements across IGT’s business platforms. Further, and again based

on his IGT position, Hadden participated in operational planning meetings, through which IGT

developed efficiency plans to provide IGT a competitive advantage in upcoming bids and

ongoing business opportunities.

       49.     Additionally, in his role, Hadden served an extremely important function within

IGT’s LMA space, serving as both the COO of IGT Indiana and as a key employee in driving the

overarching strategies of IGT in the LMA space. In particular, Hadden has: (a) intimate

knowledge of IGT’s annual business planning process for the LMA organizations, as well as

existing IGT FM customers; (b) detailed plans for retailer incentive programs; (c) detailed


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knowledge about IGT’s retail expansion opportunities; (d) detailed knowledge about IGT’s lead

industry initiatives (i.e. e-commerce, cashless and other initiatives) for channel expansion; and

(e) IGT’s targeted growth retailer SWOT analysis and planning for key retail chains.

       50.     IGT provided Hadden with access to strategic and tactical plans for all of the key

retail chain target accounts, as well as the business cases used to support selling in lottery

programs to these major retail players. Since Indiana and Illinois share a significant number of

the top retail chain accounts in the Midwest, the information Hadden gleaned to support retail

chain strategic initiatives could be used for the benefit of Camelot in Illinois and to the

disadvantage of IGT in Indiana.

       51.     Specifically, as it related to IGT Indiana, Hadden oversaw individuals who ran the

marketing, sales, and game development. Hadden was heavily involved in all decisions made by

these internal IGT Indiana departments.

       52.     Indeed, as an example of Hadden’s involvement, he engaged in advanced

reporting of marketing developments, provided approval of art for marketing, and worked

directly on IGT Indiana’s development of new games.

       53.     Hadden also was directly involved in preparing and presenting IGT Indiana’s

annual business plan to the lottery authority in Indiana, the State Lottery Commission of Indiana.

The processes behind the development of such annual business plans were highly confidential

and proprietary to IGT and IGT Indiana.

       54.     Importantly, while IGT will work with individual states to develop various lottery

games (such as scratch-off tickets or video gambling), IGT directs such efforts toward more than

one state. In other words, individuals like Hadden, would be tasked with helping developing

games at a state-level, but would also work with others within IGT to develop strategies for mass


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dissemination of such games.

       55.     This is because, in addition to IGT managing lotteries, it also develops game

systems and owns a printing press, through which it prints and disseminates its scratch-off

games. The number of companies offering these services are extremely limited in the lottery-

management market.

       56.     As a result, IGT and its state-level counterparts are part of broad-based, strategic

initiatives that determine not just lottery management, but game sales and development. Hadden

was directly involved in these initiatives and conversations, all of which are treated as highly

confidential by IGT.

       57.     For example, Hadden worked with a team to develop a new combination scratch-

off/draw game, which IGT intends to be a global game, but which is being tested in Indiana. It

took IGT eight months to develop this game, and Hadden was directly involved in IGT’s

development of this game.

       58.     Additionally, because of the nature of IGT’s nationwide business, Hadden was

directly involved with and part of various strategy teams tasked with identifying opportunities in

other states on the LMA side.

       59.     For example, because Indiana is one of only three states in which IGT operates an

LMA, Hadden was part of a team engaged in constantly discussing best practices, insights,

strategies, and analytics associated with operating an LMA in Illinois, Indiana, and New Jersey.

       60.     Importantly, IGT has used Indiana as a test bed for many creative pilot programs

such as proximity marketing, retailer route services, retailer mobile app co-op programs to name

a few. Process, implementation details, and business case analyses are not publicly available and

would be detrimental in the hands of a competitor, such as Camelot or Camelot Illinois.


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       61.     Moreover, because Northstar Illinois (the joint venture in which IGT participated

that managed the Illinois State Lottery before Camelot Illinois) began operating before IGT

Indiana, the Northstar Illinois business plan and operational playbook was used as training

materials for the Indiana team, including Hadden. As a result of this, Hadden not only knows the

most intimate IGT details about IGT’s work in Indiana, but possesses the same or similar

information about how IGT managed Illinois, as well. In other words, Hadden essentially has

walked into his position in Illinois possessing Northstar Illinois’s best practices from IGT’s time

on the ground in Illinois.

       62.     Further, some of these corporate-wide strategic initiatives in which Hadden was

directly involved included discussions about expanding IGT’s LMA programs, the overarching

structure of the LMAs, how to best negotiate terms for LMAs, and corporate-wide strategies for

introducing new games at a statewide level through various lottery terminals.

       63.     As well as the above projects, Hadden was also involved in defining strategy as it

relates to IGT’s efforts to place lottery machines into certain national chain retail stores. The

negotiations involved in landing these sorts of contracts often take several years, and Hadden is

aware of and was involved at a high level with such negotiations. As a result, Hadden knows

IGT’s targets, machine specifications for use at various targets, and other contract details.

       64.     Specifically, IGT provided Hadden access to its annual Retail Strategic Plan,

which details IGT’s market opportunities with chain retailers across a spectrum of channels,

dovetails IGT’s technology roadmap to identify and quantify the size of each opportunity, and

provides a product and business-model roadmap for growing and/or obtaining each opportunity.

       65.     As a byproduct of this, Hadden is intimately aware of IGT’s targeted growth

retailer SWOT analysis and pitch planning for those retail chains that IGT has identified as key


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targets. Each of these targets is applicable to the Illinois market, as well as elsewhere nationwide.

       66.     Furthermore, because of the nature of the lottery play of residents of Illinois and

Indiana, Illinois players often cross into Indiana and vice versa to purchase lottery tickets. As a

result, the Hoosier Lottery, which IGT Indiana manages, and the Illinois Lottery, which Camelot

Illinois commenced management of on January 1, 2018, directly compete for the same players.

Hadden was directly involved in such marketing discussions and strategic initiatives to attract

Illinois patrons into Indiana and to keep Indiana patrons from crossing over into Illinois to

purchase lottery tickets.

       67.     Finally, Hadden participated on IGT’s behalf at a number of key trade shows,

where IGT showcased future technology concepts. While some of these technology concepts

were presented publicly, a number of these presentations were made privately, with the purpose

of obtaining market feedback, for designing or retooling its technology concepts. Such strategic

customer feedback helped IGT identify market needs, and prioritize that which was essential to

IGT’s current and future bids and existing customer growth planning. Consequently, such

information was only made available to the highest levels of IGT management, such as Hadden.

       68.     In his position, Hadden was responsible for:

               a. managing the customer relationship and understanding the nuance of GR [?]

               b. managing the teams responsible for developing sales and marketing strategy;

               c. working as part of a team to develop and define strategic sales and marketing
                  strategies for various scratch-off and draw games;

               d. developing the sales and marketing team for IGT Indiana, by both staffing and
                  attracting talent to the marketing team;

               e. working directly with IGT leadership to build strategies to engage customers
                  and potential customers; and

               f. helping to develop IGT Indiana’s and IGT’s strategic plan.


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        69.    Based on his role and responsibilities, Hadden had direct knowledge of and

helped devise IGT’s and IGT Indiana’s (a) pricing; (b) strategic plans; (c) customer retention

strategies; (d) its marketing of plans; (e) product development strategies; and (f) product release

strategies.

IGT’S CONFIDENTIAL AND PROPRIETARY INFORMATION

        70.    In his role and as discussed above, Hadden worked directly with all aspects of

IGT’s lottery business. As a result of this work, he knows IGT’s:

               a. pricing strategies, including terms and conditions of sales, profit margins,
                  product pricing discounts, bulk purchase pricing, etc.;

               b. competitive strategies against its competitors, including Camelot;

               c. customer retention strategies, including strategies for withstanding
                  competitive pressure from companies like Camelot;

               d. product development strategies, research and development plans and
                  strategies;

               e. marketing strategies, including its market share, product mix share, its
                  innovation strategy, and market research; and

               f. IGT’s strategic long-term plan, which Hadden, along with others, helped
                  develop.

        71.    Additionally, given his position, Hadden had access to information about IGT’s

other non-LMA customers.

        72.    Given Hadden’s unique position within IGT, he has intimate knowledge of its

financing, pricing, margins, knowledge of IGT’s contracts, knowledge of its product

development strategies, release plans, and marketing initiatives for those products, and

knowledge of its customer and potential customer strategies.

        73.    This information is treated as highly confidential within IGT and is not easily or

cheaply duplicated by a new market entrant, such as Camelot or Camelot Illinois. Further,


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Hadden knows IGT’s market strengths and weaknesses.

       74.     Moreover, because Camelot Illinois and Camelot are new market entrants, they do

not have such information on their own, and will have no choice but to rely heavily on Hadden’s

knowledge of IGT’s trade secret information.

       75.     IGT’s confidential information discussed above is not available to the public, is of

great value to and would give any of its competitors who acquired such information, including

Camelot and Camelot Illinois, an unfair competitive advantage.

       76.     IGT and IGT Indiana require that their information be kept strictly confidential by

its employees and restricts access to this information. IGT takes specific and rigorous measures

to preserve the confidentiality of this information, including but not limited to, the following:

       (a)     requiring employees to sign confidentiality agreements containing
               covenants designed to maintain confidentiality and to return its property
               upon termination;

       (b)     requiring its employees to maintain confidentiality of its information and
               protect its assets;

       (c)     prohibiting the use of its materials not directly related to its business, or
               the removal or borrowing of its property without permission;

       (d)     using badge IDs to restrict access to and within its facilities to which
               Hadden had access;

       (e)     prohibiting the use of its computer systems for non-company purposes;

       (f)     restricting access to its computerized information through the use of
               passwords;

       (g)     prohibiting the unauthorized physical removal of company information
               (via paper, disc, flash drive or other media) and electronic transmission of
               such information (via email or other means); and

       (h)     also restricting access to its computerized company information based on
               each individual employee’s “need to know” the particular information.

       77.     IGT took great measures to protect such information. At IGT, this information is

stored on IGT’s secure, proprietary electronic database, which is password protected and subject
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to manual password updates by an individual user periodically, subject to numerous firewalls,

only accessible on-site at IGT or through a pre-approved IGT VPN. Additionally, not everyone

within IGT is provided access to this information.

       78.     To ensure that IGT’s employees were aware of these security protocols,

information security awareness training and materials were provided to IGT’s employees on at

least an annual basis and all new employees received this training during the onboarding process.

       79.     Additionally, IGT took explicit steps at termination to ensure that its trade secrets

did not remain in the possession of a former employee, such as with Hadden, including, but not

limited to: (a) requiring all ID badges, access cards, and keys be returned; (b) disabling all

system access and associated user IDs; (c) collecting all company-owned electronic media; (d)

collecting all company-owned intellectual or physical property; (e) revoking all physical and

logical access rights; (f) requiring disclosure of all third party and hosted systems accessed by

the former employee and requiring the employee to revoke or turn over such systems to IGT; and

(g) removing email and voicemail access.

       80.     All of these security measures were taken by IGT for the purpose of protecting its

trade secret and confidential information.

       81.     IGT’s trade secrets and confidential and proprietary information would give a

competitor an advantage by not expending the time and resources to develop the trade secret and

confidential and proprietary information as IGT has done; quickly developing products and

services to unfairly compete with it in order to diminish its head start; alerting a competitor as to

initiatives that should not be pursued; and other improper advantages.

HADDEN’S POST-EMPLOYMENT CONTRACTUAL OBLIGATIONS OWING TO IGT

       82.     On March 12, 2014, Hadden executed the Agreement that contains certain

reasonable post-employment contractual obligations owing to IGT. A true and correct copy of
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the Agreement is attached as Exhibit A.

       83.       Hadden’s employment, access to and receipt of IGT’s and IGT Indiana’s trade

secrets and confidential information, and other compensation and benefits were all expressly

conditioned on his execution of the Agreement.

       84.       If Hadden failed to execute the Agreement, he would not have received

employment or access to IGT’s confidential information. (See Exhibit B, December 9, 2013

Offer Letter).

       85.       Indeed, the employment offer explicitly was conditioned on Hadden’s execution

of the Agreement, as the December 9, 2013 letter states: “This offer of employment, and

continuation of your employment with GTECH, is subject to and contingent upon the following:

(1) Execution of a non-disclosure and non-competition agreement, in favor of GTECH, prior to

commencement of employment.” (Ex. B.)

       86.       Hadden’s Agreement defines such information that constitutes “Confidential

information” as: “all non-public information, oral or written, and materials (in any medium),

including trade secrets, of which Employee becomes aware as a result of or in the course of

Employment which could reasonably be understood to be confidential, whether or not so

marked, and is related to the Company’s business and all other information or data identified as

proprietary or confidential at the time of disclosure.” (Agreement at § 2.)

       87.       Hadden also specifically agreed that he: “shall never directly or indirectly use or

disclose, and shall take all reasonable steps to prevent others from using or disclosing any

information, discovered or acquired by [Hadden] during or by virtue of Employment, which

relates to the Company, its Services or Products ….” (Id.)

       88.       The Agreement defines “Services and Products” to mean: “All gaming systems


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and equipment and all other products and services which the Company markets or provides or

which to Employee’s knowledge the Company plans to market or provide. (Id. at §1.)

          89.   In addition to prohibiting the disclosure of IGT’s confidential information, the

Agreement contains narrowly tailored post-employment restrictive covenants, which are

designed to protect its goodwill, long-standing customer relationships and employee

relationships, in addition to its confidential information.

          90.   Specifically, Hadden agreed that during the course of his employment with

GTECH, and subsequently IGT Indiana, and for 18 months after the termination of his

employment for any reason, he would not: “directly or indirectly engage in any activity (if such

activity is reasonably related to any activity engaged in by Employee as an employee of the

Company) in conjunction with and to the benefit of any business or endeavor which is

reasonably deemed by [IGT] to be, or about to be in competition with Services and Products

anywhere in the world where [IGT] is then doing or pursuing business or is to Employee’s

knowledge about to do or pursue business.” (Id. at §4.)

          91.   The Agreement further prohibits Hadden, for a period of three years after his

employment ended, from “disturb[ing] any business relationship between [IGT] and its

employees, dealers, customers, suppliers or other business associates.” (Id.)

          92.   In executing his Agreement, Hadden also agreed that “duration, territorial and

other restrictions set forth herein are … reasonable to protect [IGT’s] business interests.” (Id. at

§7(c).)

          93.   The Agreement contains a Rhode Island choice-of-law provision (Id. at §7(g).)

          94.   Lastly, Hadden agreed that the Agreement “shall be binding upon and inure to the

benefit of GTECH[,] its legal representatives and permitted assigns upon Employee”, and further


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agreed that “[t]his Agreement shall be assignable by the Company in whole or in part, to any

successor to substantially all of any major portion of the Company’s business.” (Id. at §8(a) &

(b).)

HADDEN’S POST-RESIGNATION ACTIVITIES & EMPLOYMENT WITH CAMELOT.

          95.    On November 2, 2017, Hadden told IGT’s CEO, Michael Chambrello, that he was

resigning his position with IGT Indiana to take a job with Camelot Illinois, and would be in

charge of running the Illinois lottery.

          96.    While Hadden offered two weeks, because he was taking a position with a

competitor, IGT Indiana accepted Hadden’s resignation, effective immediately.

          97.    Around the same time, Hadden told Melissa Pursley, IGT Indiana’s Vice

President of Marketing and Product Development, that Hadden would be both leading Camelot

Illinois, but also reporting to a higher level within Camelot. During that conversation, Hadden

told Pursley that Hadden would be “number 3 in the organization.”

          98.    On November 3, 2017, Hadden returned some, but not all of the IGT property in

his possession. Specifically, on November 3, Hadden returned the IGT iPad, iPhone, printer,

paperwork, monitor, and company car key in his possession. At the time, Hadden claimed that he

forgot to bring his IGT laptop.

          99.    The following day, Saturday, November 4, 2017, Hadden drove to the home of

Tracy McNutt, IGT Indiana’s Deputy General Manager, to drop off his company-assigned

laptop, and the spare key to his company car. The laptop remained in Ms. McNutt’s custody until

Monday, November 6, 2017, at which time she shipped the device to IGT.

          100.   At no time did Hadden return any external media devices, such as a thumb drive

or external hard drive.

          101.   In the weeks that followed, IGT Indiana employees and others associated with the
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Hoosier Lottery received numerous calls from Hadden. In those calls, Hadden informed them

that he had taken a position with Camelot and was living in Chicago.

         102.   Based on what IGT viewed as a direct violation of Hadden’s non-compete

agreement, on November 17, 2017, IGT sent Hadden a cease-and-desist letter. A true and correct

copy of the cease and desist letter is attached as Exhibit C.

         103.   This cease and desist letter was also sent to Camelot.

         104.   On November 27, 2017, Camelot Illinois and Hadden, through counsel, responded

to the cease and desist letter. In the letter, amongst other things, Hadden signed a certification

indicating that he did not possess IGT’s trade secret or confidential information. A true and

correct copy of Hadden’s response is attached as Exhibit D.

         105.   However, despite Hadden’s assurances, based on a forensic examination

performed on Hadden’s IGT laptop, IGT has reason to believe that Hadden’s assurances were

false.

         106.   Indeed, based on IGT’s forensic review of Hadden’s IGT computer, it uncovered

high intensity USB device usage in the two months prior to his resignation. That use is as

follows:

            a. On November 4, 2017, two days after his resignation and the day after he
               purportedly returned IGT’s property, Hadden inserted a USB Flash Disk device,
               bearing Serial No. FBK1410163303856, into his IGT computer.

            b. On September 25, 2017, Hadden inserted a Hitachi USB device, bearing Serial
               No. 21001207250B000002367, into his IGT computer.

            c. That same day, also on September 25th, Hadden inserted a WD Elements device,
               bearing Serial No. 575832314336325534313532, into his IGT computer.

            d. On September 22, 2017, Hadden inserted another USB device, bearing Serial No.
               041515000000079E6, into his IGT computer.

            e. On September 7, 2017, Hadden inserted both the Hitachi and WD devices into his
               computer.

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            f. On August 22, 2017, Hadden inserted two separate USB devices into his IGT
               computer, one bearing Serial No. 0415150000006DA6, and the second bearing
               Serial No. 04140800000432E3.

        107.     Prior to Hadden beginning to use six different external media devices in August

2017, Hadden had not inserted an external media device into his computer since July 2016. In

other words, Hadden was not a regular user of external media devices on his IGT computer until

the two months preceding, and immediately following, Hadden’s acceptance of an offer of

employment with Camelot Illinois.

        108.     Unfortunately, without Hadden returning these external media devices, it is

impossible for IGT to know what documents he downloaded onto these devices, but IGT’s

subsequent investigation, after learning about Hadden’s improper competition and computer

usage history, leaves IGT with little doubt that Hadden download and misappropriated IGT’s

trade secrets.

        109.     For example, on September 12, 2017, while attending an external conference,

Hadden told Melissa Pursley that he applied for a new position outside IGT.

        110.     Moreover, in mid-October, Hadden told Jessica Norris, another IGT Indiana

employee, that he had reviewed Camelot’s bid for the Illinois lottery.

        111.     These conversations suggest to IGT that, by early September 2017, Hadden

applied for and was offered the job with Camelot Illinois.

        112.     The timing of this offer and Hadden’s acceptance is consistent with Camelot’s

acquisition of this contract.

        113.     Indeed, during the summer of 2017, it was announced that Camelot had won the

bid for the LMA for the Illinois Lottery. By mid-October 2017, the Illinois legislature confirmed

it had no objections with Camelot securing the LMA contract. Moreover, Hadden frequently

would comment on where Camelot was in the bid process, and, after Camelot won the bid,
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Hadden told certain IGT employees that he was not surprised that it won.

         114.   Because the transition from IGT to Camelot was effective as of January 1, 2018, it

is highly likely that Camelot began interviewing for its COO-level position by mid-2017.

         115.   While IGT is particularly concerned that Hadden is using its trade secret and

confidential information to allow Camelot to streamline and more effectively operate the Illinois

Lottery, it is equally concerned that Hadden will use his knowledge of IGT’s strategic plans to

help Camelot form bids and compete against IGT in markets other than Illinois in the upcoming

months and years.

EFFECT OF HADDEN’S EMPLOYMENT WITH CAMELOT

         116.   With the departure of Hadden and his knowledge of IGT’s confidential

information, IGT stands to lose millions of dollars in business and the loss of value of its

goodwill, customer relationships, trade secrets and confidential and proprietary information,

which cannot be adequately addressed at law.

         117.   By definition of his position with Camelot, Hadden is, directly and indirectly,

competing against IGT and has used or will use confidential and trade secret IGT information to

do so.

         118.   Camelot’s decision to hire Hadden to lead its Illinois and U.S. operations poses

harm far beyond just significant monetary losses.

         119.   Camelot cannot blindly ignore Hadden’s restrictive covenants to which he is

bound, place Hadden in the same position, require him to perform the same duties and

responsibilities, task him with competing for business against IGT—all of which constitutes an

express breach of his Agreement—and then benefit from his breach.

         120.   Camelot has received an unfair advantage in targeting IGT’s customers,

developing marketing plans and campaigns based on IGT’s successes and rejected plans, in
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determining what new products and services to develop or not develop, and in developing sales

and marketing and operational strategies based on IGT’s trade secrets. Defendants will have

valuable know-how on how to design and improve Camelot’s own products and services,

customer relationships, and goodwill, based on misappropriation of IGT’s trade secrets and

Hadden’s breach of his non-compete agreement.

       121.    Hadden cannot perform his job for Camelot without violating his Agreement and

without using IGT’s trade secrets and confidential information.

       122.    All told, Defendants are causing, threatening, and/or will continue to cause or

threaten significant irreparable harm to IGT, including the loss of value of confidential and/or

proprietary information, the loss of long-standing customer relationships, loss of goodwill, as

well as damage to its reputation as an industry leader and its ability to successfully market its

goods and services. Remedies at law are inadequate and cannot make IGT whole.

                                        COUNT I
                                  BREACH OF CONTRACT
                                      Against Hadden
                                    (Rhode Island Law)

       123.    IGT hereby repeats, realleges, and incorporates by reference the allegations which

are contained in Paragraphs 1 through 122.

       124.    The Agreement that Hadden entered into with GTECH (now known as IGT),

constitutes a valid and enforceable contract.

       125.    IGT performed all of the duties and obligations it agreed to and owed Hadden

under his Agreement.

       126.    The post-employment activity restrictions contained in the Agreement are

reasonable in both scope and duration, and are necessary to protect IGT’s legitimate protectable

interests in its confidential business information, as well as its business relationships, goodwill

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and other legitimate business interests.

        127.   Hadden breached and continues to breach his post-employment contractual

obligations owed to IGT by taking competitive employment with an IGT competitor.

        128.   Hadden breached and continues to breach his post-employment contractual

obligations owed to IGT by misusing its confidential and proprietary information.

        129.   As a result of Hadden’s breaches of contract, IGT has been irreparably injured,

and it continues to face irreparable injury. It is threatened with losing the value of its confidential

and proprietary information, customer relationships, as well as income and goodwill, for which a

remedy at law is inadequate.

        130.   Accordingly, the Defendants must be enjoined and restrained by Order of this

Court. To the extent a remedy at equity is adequate, IGT also seeks actual, incidental,

compensatory, punitive and consequential damages, along with its reasonable attorneys’ fees and

interest.

                              COUNT II
   ACTUAL AND/OR THREATENED MISAPPROPRIATION OF TRADE SECRETS
               (ILLINOIS UNIFORM TRADE SECRET ACT)
                          Against Defendants

        131.   IGT hereby repeats, realleges, and incorporates by reference the allegations which

are contained in Paragraphs 1 through 122.

        132.   IGT’s confidential and proprietary information includes, inter alia, IGT’s

operations, products, pricing formulae, research and development activities, analysis of

competitive products, marketing plans, business plans, business strategies, and IGT’s customers,

including, but not limited to, customer preferences, strategies for soliciting prospective

customers, pricing information, analytical results of competitive service comparisons, customer

marketing data and purchasing patterns, and planned research and development for its customer

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base.

        133.   This information constitutes trade secrets, pursuant to the Illinois Uniform Trade

Secret Act, 765 ILCS 1065/1, et seq., because IGT derives independent economic value from this

information not being generally known to the public and not being readily ascertainable by

proper means by other persons who could obtain economic value from its disclosure or use, and

because the information is the subject of reasonable efforts to maintain its secrecy.

        134.   Hadden actually misappropriated IGT’s trade secrets without its consent, in

violation of Illinois law. Camelot and Camelot Illinois cannot hire IGT’s employees, including

Hadden, into similar positions at Camelot without Defendants utilizing and disclosing IGT’s

confidential information.

        135.   Specifically, Hadden is using and disclosing IGT’s trade secrets relating to its

lottery management strategies and operations, game development, strategic targets, and

marketing efforts, all information of which he received based on his IGT employment.

        136.   Defendants are being unjustly enriched by Hadden’s misappropriation of IGT’s

trade secrets and/or confidential information and Camelot and Camelot Illinois’s further use of

such trade secrets, and, unless restrained, Defendants will continue to use, divulge, and otherwise

misappropriate its trade secrets and confidential information.

        137.   Defendants’ actual misappropriation has been willful and malicious. Further,

Hadden violated his Agreement by taking and utilizing IGT’s trade secrets and confidential

information and refusing to return such information upon IGT’s demand.

        138.   As a result of the actual misappropriation of IGT’s trade secrets, IGT has been

injured and faces irreparable injury.




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                             COUNT III
    VIOLATION OF THE DEFEND TRADE SECRETS ACT, 18 U.S.C. §1832, et seq.

       139.    IGT hereby repeats, realleges, and incorporates by reference the allegations which

are contained in Paragraphs 1 through 122.

       140.    The Defend Trade Secrets Act (“DTSA”) defines “trade secret” to include all

forms and types of financial, business or economic information, including patterns, plans,

compilations, methods, techniques, processes, procedures or programs, if (A) the owner thereof

has taken reasonable measures to keep such information secret; and (B) the information derives

independent economic value, actual or potential, from not being generally known to, and not

being readily ascertainable through proper means by, the public. See 18 U.S.C. §§ 1836, 1839.

       141.    Hadden acquired IGT’s trade secrets by improper means and without

authorization. In particular, Hadden obtained trade secrets from IGT through, inter alia, having

accessed and retained IGT’s confidential information and trade secrets even after his resignation.

As discussed in length above, IGT’s forensic review identified multiple external devices onto

which IGT’s trade secret information was stored and, which Hadden has not returned, despite

repeated requests to do so.

       142.    Upon information and belief, Hadden has also disclosed IGT’s trade secrets to

Camelot and/or Camelot Illinois in violation of his obligations under the Agreement and/or has

or threatens to misappropriate IGT’s trade secrets in violation of the DTSA.

       143.    The information that Hadden has, upon information and belief, provided to

Camelot or Camelot Illinois or threatens to provide to them regarding IGT’s strategic plans and

research and development plans constitutes a trade secret within the meaning of the DTSA. Such

information derives independent economic value from not being generally known to, or readily

ascertainable by proper means by, the public; other persons can obtain economic value from its

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disclosure or use; and it is the subject of significant efforts to maintain its secrecy.

        144.    As detailed above, IGT takes reasonable and appropriate measures to protect the

confidentiality of the above-described trade secrets.

        145.    Hadden knew or should have known that IGT’s trade secrets (a) are confidential;

(b) were acquired under circumstances giving rise to a duty to maintain their secrecy or limit

their use; (c) were developed or acquired by IGT at great expense and effort; (d) are maintained

as confidential and are not generally available to the public or IGT’s competitors; (e) would

provide significant benefit to a competitor seeking to compete with IGT; and (f) are critical to

IGT’s ability to conduct their businesses successfully.

        146.    As detailed above, Hadden transferred and/or wrongfully obtained and accessed

IGT’s trade secrets and failed to return IGT’s information, despite repeated requests from IGT

for him to do so.

        147.    As detailed above, Hadden actively continued gathering IGT’s trade secrets even

while he was in the process of obtaining employment with Camelot. In fact, even after

announcing his departure from IGT, Hadden nevertheless continued to download IGT’s trade

secrets to external media devices. The only purpose for Hadden to obtain and retain IGT’s trade

secrets is to use them to compete against IGT on behalf of Camelot and Camelot Illinois.

        148.    By disclosing and/or threatening to disclose IGT’s trade secrets to Camelot and

Camelot Illinois without IGT’s consent, Hadden has misappropriated or threatens to

misappropriate IGT’s trade secrets in violation of the DTSA, which allows injunctive relief for

actual or threatened misappropriation of trade secrets.

        149.    The information that Hadden has misappropriated or threatens to misappropriate

describes and relates to IGT’s highly confidential research and development plans, which


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involve products that are sold in, utilized throughout, and/or travel through interstate commerce.

       150.    Should Hadden continue to disclose or threaten to disclose IGT’s trade secrets,

the disclosure of such information will harm IGT and its legitimate business interests.

       151.    If information pertaining to IGT’s trade secrets are disclosed to Camelot, Camelot

Illinois, or other competitors of IGT, it could destroy IGT’s competitive advantage.

       152.    Because Hadden’s misconduct is ongoing and it poses a threat of significant

irreparable harm that cannot be compensated by money alone, IGT request that this Court grant

injunctive relief against Hadden from actual or threatened disclosure or utilization of IGT’s trade

secrets, in addition to granting IGT its attorneys’ fees and exemplary damages.

                                     COUNT IV
                     TORTIOUS INTERFERENCE WITH CONTRACT
                          Against Camelot and Camelot Illinois

       153.    IGT hereby repeats, realleges, and incorporates by reference the allegations which

are contained in Paragraphs 1 through 122.

       154.    As set forth above, the Agreement is a valid and enforceable contract. The post-

employment activity covenants, confidentiality covenants and other provisions contained in the

Agreement are reasonable in scope and duration and are reasonably necessary to protect IGT’s

legitimate protectable interests in its long-standing, well established and valuable customer

relationships and its confidential information, as well as its goodwill.

       155.    Camelot and Camelot Illinois were fully aware of the Agreement prior to hiring

and/or continuing to employ Hadden.

       156.    Despite having knowledge of the Agreement, Camelot and Camelot Illinois

intentionally induced, permitted or incentivized Hadden to violate the post-employment and

contractual obligations owing to IGT, without justification, in an effort to employ him, move

IGT’s customers and/or workforce, and/or unfairly compete with IGT.
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           157.   IGT believes Camelot’s and Camelot Illinois’s intentional interference was

willful, malicious, unjustified and accomplished through wrongful means, including but not

limited to, inducing, aiding or abetting Hadden to breach his contract with IGT and otherwise

violate the law.

           158.   Camelot’s and Camelot Illinois’s interference with the Agreement is separate and

apart from, and unrelated to, their threatened and/or actual misappropriation of IGT’s trade

secrets.

           159.   As a result of Camelot’s and Camelot Illinois’s intentional interference, IGT has

suffered irreparable and other significant injuries.

                                           COUNT V
                                     UNFAIR COMPETITION
                                        (All Defendants)

           160.   IGT hereby repeats, realleges, and incorporates by reference the allegations which

are contained in Paragraphs 1 through 122.

           161.   Defendants took the actions described above to gain an unfair competitive

advantage over IGT.

           162.   Defendants willfully and maliciously took the actions described above with

knowledge of and disregard for IGT’s rights, and with the intention of causing harm to IGT for

their own benefit.

           163.   As a result of Defendants’ actions, Defendants are unfairly competing in the LMA

lottery marketplace.

           164.   IGT has been irreparably injured and it continues to face irreparable injury. IGT is

threatened with losing the value of its confidential and proprietary information and certain

customer relationships, along with income and goodwill, for which a remedy at law is

inadequate.
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       165.    Accordingly, the Defendants must be enjoined and restrained by Order of this

Court. In addition to a remedy at equity, IGT seeks actual, incidental, compensatory, punitive,

and consequential damages.

                                    PRAYER FOR RELIEF

       WHEREFORE, IGT seeks judgment in its favor and an Order against Defendants that

grants the following relief:

       A.      Preliminarily and permanently enjoins Defendant Colin Hadden, and all
       parties in active concert or participation with him, from using or disclosing any of
       IGT’s confidential, proprietary and/or trade secret information;

       B.     Preliminarily and permanently enjoins Defendant Colin Hadden from
       holding any position with Camelot or Camelot Illinois.

       C.     Preliminarily and permanently enjoins Defendant Colin Hadden from
       having any responsibilities for lottery at Camelot.

       D.      Preliminarily and permanently enjoins Defendant Colin Hadden, and all
       parties in active concert or participation with him or receiving notice of any
       injunction, from contacting, soliciting, or moving the business of any current or
       prospective customer of IGT;

       E.      Orders Defendant Colin Hadden and all parties in active concert or
       participation with him to return to IGT all originals and copies of all files, devices
       and/or documents that contain or relate to IGT’s confidential and proprietary
       information, including without limitation, all computers, electronic media, PDAs
       and electronic storage devices;

       F.     Orders Defendant Colin Hadden to produce for inspection and imaging all
       computers and other electronic storage devices and email accounts belonging to,
       under the control of, accessible to, or operated by Hadden;

       G.      Awards IGT actual, incidental, compensatory, and consequential damages
       to be proven at trial;

       H.      Awards IGT exemplary or punitive damages in an amount to be proven at
       trial due to Defendants’ outrageous, willful and/or malicious activities;

       I.     Awards IGT its costs and expenses incurred herein, including reasonable
       attorneys’ fees and interest, pursuant to the Illinois Trade Secrets Act and/or
       Defend Trade Secrets Act;

       J.      Orders IGT to receive all sums disgorged from Hadden; and
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       K.     Orders IGT such further relief as the Court deems necessary and just.


DATED: JANUARY 22, 2018                     Respectfully submitted,

                                            IGT GLOBAL SOLUTIONS CORPORATION


                                            By: /s/ Justin K. Beyer_________________
                                                         One of Its Attorneys

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